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                  23-738          IN THE


    United States Court of Appeals
                     FOR THE SECOND CIRCUIT

                      d
       MUHAMMAD TANVIR , JAMEEL ALGIBHAH , NAVEED SHINWARI ,

                              AWAIS SAJJAD ,
                                                          Plaintiffs-Appellants,

                                                                      Plaintiff,
                               —against—

“JOHN ” TANZIN , SPECIAL AGENT, FBI, SANYA GARCIA , SPECIAL AGENT FBI,
FRANCISCO ARTOUSA , JOHN LNU, SPECIAL AGENT, FBI, STEVEN LNU, JOHN C.
HARLEY, III, MICHAEL LNU, GREGG GROSSOEHMIG , WEYSAN DUN , JAMES C.
LANGENBERG , JOHN DOES , 1-6, SPECIAL AGENT FBI,
                                                    Defendants-Appellees,
                    (Caption continued on inside cover)

              ON APPEAL FROM THE UNITED STATES DISTRICT COURT
                  FOR THE SOUTHERN DISTRICT OF NEW YORK



    BRIEF OF AMICI CURIAE 26 RELIGIOUS ORGANIZATIONS
          IN SUPPORT OF PLAINTIFFS-APPELLANTS



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JOHN DOE , SPECIAL AGENT, FBI,
                                                             Defendants.
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            CORPORATE DISCLOSURE STATEMENT

     Pursuant to Federal Rule of Appellate Procedure 26.1, amici curiae

certify that none of amici have any parent corporations and that no

publicly held company owns 10% or greater ownership in any of amici.

Date: August 4, 2023

                                               /s/ Adeel A. Mangi
                                               ADEEL A. MANGI




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                   INTEREST OF AMICI CURIAE1

     Amici are American religious or religiously affiliated organizations

representing a wide array of faiths and denominations.            Led by the

Muslim Bar Association of New York, amici include congregations and

houses of worship, as well as professional groups that work with or

represent faith communities (“Religious Organizations”). As such, amici

have an interest in ensuring that the doctrine of qualified immunity is

not improperly invoked to block claims under the Religious Freedom

Restoration Act of 1993 (“RFRA”).         RFRA is a crucial statute that

provides expansive protection to religious liberty, and amici have a clear

interest in ensuring that those who violate RFRA are held accountable

and preventing RFRA from becoming an empty promise.

     Amici are identified here by name, with a fuller description of their

identities and interests attached to this brief as Appendix A: Central

Conference of American Rabbis; Council on American-Islamic Relations

(“CAIR”); CAIR, New York Chapter; Congregation Beit Simchat Torah;


1 Consistent with Federal Rule of Appellate Procedure 29(a)(4)(E), amici

state that no counsel for a party authored this brief in whole or in part,
and no person or entity, other than amici and their counsel, has
contributed money that was intended to fund preparing or submitting
this brief. All parties provided consent for amici curiae to file this brief.
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Congregation Shaarei Shamayim; El Paso Monthly Meeting of the

Religious Society of Friends (Quakers); Emgage Action; Faith in New

Jersey; Franciscan Friars of the Province of St. Barbara; Interfaith

Center of New York; Islamic Society of Central Jersey; Men of Reform

Judaism; Muslim Bar Association of New York; Muslim Public Affairs

Council; Muslim Urban Professionals; National Association of Muslim

Lawyers; National Council of Jewish Women; NETWORK Lobby for

Catholic Social Justice; New Jersey Muslim Lawyers Association; New

York Disaster Interfaith Services; Society for the Advancement of

Judaism; T’ruah: The Rabbinic Call for Human Rights; Union for Reform

Judaism; Union Theological Seminary; Unitarian Universalist Service

Committee; and Women of Reform Judaism.




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                     SUMMARY OF ARGUMENT

     Amici, religious and religiously affiliated organizations of

numerous faiths and denominations, have a unique appreciation of the

potential dangers posed to disfavored religious groups by state officials.

This danger has been ever-present throughout American history, even as

the identities of the disfavored religious groups have changed over time.

     Congress has recognized the vulnerability of religious adherents to

government hostility, and enshrined broad protections of religious liberty

by enacting RFRA. RFRA, which was enacted in response to the Supreme

Court’s decision in Employment Division, Department of Human

Resources v. Smith, 494 U.S. 872 (1990), prohibits the federal

government from imposing any substantial burden on the free exercise of

religion unless such burden furthers “a compelling governmental

interest” and is “the least restrictive means” of doing so. RFRA also

allows those whose rights have been violated to seek appropriate relief,

including money damages.

     RFRA was designed for cases just like this one—in which the

government egregiously trampled on Plaintiffs’ religious freedom by

repeatedly pressuring them to violate their sincerely held religious


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beliefs. Yet the District Court, in granting Defendants’ motion to dismiss

on qualified immunity grounds, undermined RFRA’s protections in at

least three ways. First, the District Court defined Plaintiffs’ relevant

rights too narrowly. Defining rights under RFRA at a high degree of

specificity, as the District Court did here, is particularly prejudicial to

religious minorities—the very groups that RFRA is intended to protect.

The narrower the right, the harder it will be to show that it was “clearly

established,” which a plaintiff must do to overcome qualified immunity.

Second, the District Court considered whether the right here was clearly

established without deciding whether Defendants actually violated it.

Without a court ruling that Defendants violated Plaintiffs’ rights,

officials can continue to engage in the challenged practice with impunity,

as no precedent will have clearly established its unlawfulness. And third,

the District Court applied qualified immunity on a motion to dismiss,

even though this Court has stressed that qualified immunity—an

affirmative defense—should rarely be decided on the pleadings.

     Through these three errors, the District Court expanded qualified

immunity doctrine and effectively created a heightened pleading

standard for RFRA claims.        Not only did that undermine the vast


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protections that the statute was designed to provide for religious

minorities, it bucked a recent trend by appellate courts across the

country, including the Supreme Court, to curb any further extension of

the defense.

     For the reasons set forth herein and in Appellants’ and other amici’s

briefs, amici urge the Court to reverse the dismissal of the District Court

and remand the case for further proceedings.

                              ARGUMENT

I.   CONGRESS    ENACTED  RFRA   TO   PROVIDE
     EXPANSIVE PROTECTIONS FOR THE EXERCISE OF
     RELIGIOUS FREEDOMS

     “RFRA was designed to provide very broad protection for religious

liberty.” Burwell v. Hobby Lobby Stores, Inc., 573 U.S. 682, 706 (2014).

RFRA’s expansive protection of the free exercise of religion is deeply

rooted in American history, and it can be traced to well before the

founding of the country.

     In the “[c]enturies immediately before and contemporaneous with

the colonization of America,” government-supported persecution of

religious minorities was rampant: “Catholics had persecuted Protestants,

Protestants had persecuted Catholics, Protestant sects had persecuted

other Protestant sects, Catholics of one shade of belief had persecuted
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Catholics of another shade of belief, and all of these had from time to time

persecuted Jews.” Everson v. Bd. of Ed. of Ewing Twp., 330 U.S. 1, 8-9

(1947). Even in the new world, “many of the old world practices and

persecutions” remained. Id. at 10. Practitioners of minority faiths “were

persecuted because they steadfastly persisted in worshipping God only

as their own consciences dictated.” Id. Indeed, Rhode Island’s founder,

the Protestant dissenter Roger Williams, had been banished from the

Massachusetts Bay Colony for his religious views.           See Michael W.

McConnell, The Origins and Historical Understanding of Free Exercise of

Religion, 103 Harv. L. Rev. 1409, 1424-25 (1990).

     But eventually, by 1791, “[f]reedom of religion was universally said

to be an unalienable right” among the states. See McConnell, supra, at

1456. With the ratification of the First Amendment’s Free Exercise

Clause, the government committed “itself to religious tolerance,” such

that “upon even slight suspicion that proposals for state intervention

stem[med] from animosity to religion or distrust of its practices, all

officials [would] pause to remember their own high duty to the

Constitution and to the rights it secures.” Church of the Lukumi Babalu

Aye, Inc. v. City of Hialeah, 508 U.S. 520, 547 (1993). The Framers


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understood quite well the danger that a government can pose to

disfavored religious minorities and the importance of enshrining

religious liberty into law.    “Indeed, [the Free Exercise Clause] was

specially concerned with the plight of minority religions[.]” Zelman v.

Simmons-Harris, 536 U.S. 639, 679 n.4 (2002) (Thomas, J., concurring)

(quoting Akhil Reed Amar, The Bill of Rights as a Constitution, 100 Yale

L.J. 1131, 1159 (1991)).

     Congress enacted RFRA in 1993 to further strengthen legal

protections for the free exercise of religion.     The law was passed in

response to Employment Division, Department of Human Resources v.

Smith, 494 U.S. 872 (1990), which drastically limited the scope of the

First Amendment’s Free Exercise Clause. Before Smith, the Supreme

Court enforced the Free Exercise Clause through the “compelling

interest” test—i.e., that government may not substantially burden the

exercise of religion unless “necessary to further a compelling state

interest.” Holt v. Hobbs, 574 U.S. 352, 357 (2015). But in Smith, the

Supreme Court overturned that precedent, holding that, under the First

Amendment, “neutral, generally applicable laws may be applied to

religious practices even when not supported by a compelling


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governmental interest.” See City of Boerne v. Flores, 521 U.S. 507, 514

(1997) (citing Smith, 494 U.S. at 885).

     In response, “Congress enacted RFRA in order to provide greater

protection for religious exercise than is available under the First

Amendment.” Holt, 574 U.S. at 357. In doing so, Congress rejected

Smith as incompatible with the nation’s long history of safeguarding

religious freedom and protecting minority religions in particular. See

Smith, 494 U.S. at 890 (acknowledging that its holding “will place at a

relative disadvantage those religious practices that are not widely

engaged in”); see also S. Rep. No. 103-111 at 8, reprinted in 1993

U.S.C.C.A.N. 1892, 1897 (explaining that, post-Smith, “[s]tate and local

legislative bodies cannot be relied upon to craft exceptions from laws of

general application to protect the ability of the religious minorities to

practice their faith”).   RFRA restored the longstanding “compelling

interest test” that Smith largely overturned—that “[g]overnment shall

not substantially burden a person’s exercise of religion even if the burden

results from a rule of general applicability,” unless the burden furthers

“a compelling governmental interest” and “is the least restrictive means

of” doing so. 42 U.S.C. § 2000bb-1(a), (b). This is an “exceptionally


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demanding” burden for the government to meet. Hobby Lobby, 573 U.S.

at 728. RFRA also explicitly provided that its purpose is “to guarantee

[the compelling interest test’s] application in all cases where free exercise

of religion is substantially burdened,” and “to provide a claim or defense

to persons whose religious exercise is substantially burdened by

government.” 42 U.S.C. § 2000bb(b).

     By providing for such claims—which include claims for money

damages against officers in their individual capacities, see Tanzin v.

Tanvir, 141 S. Ct. 486, 493 (2020)—Congress demonstrated a clear

interest not only in constraining government policies prospectively, but

also in vindicating the individual rights of persons whose religious

freedom has been violated.       As the Supreme Court has emphasized,

RFRA “contemplates a more focused inquiry and requires the

Government to demonstrate that the compelling interest test is satisfied

through application of the challenged law to the person—the particular

claimant whose sincere exercise of religion is being substantially

burdened.”    Holt, 574 U.S. at 363 (emphasis added) (quoting Hobby

Lobby, 573 U.S. at 726).




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II.   THE   DISTRICT COURT’S  APPLICATION  OF
      QUALIFIED IMMUNITY IS INCONSISTENT WITH
      RFRA’S BROAD PROTECTION OF RELIGIOUS
      LIBERTY

      RFRA was designed precisely for cases like this one. Plaintiffs are

four Muslims who, as part of their religion, believe that they should be

trustworthy and honest, JA-80 (Am. Compl. ¶ 208); form relationships

with other Muslims based on integrity instead of deceit, JA 48 (Am.

Compl. ¶ 84), JA-57 (Am. Compl. ¶ 122); not betray their religious

communities by informing on them, JA-44 (Am. Compl. ¶ 65); and not

conduct surveillance on innocent people, JA-56 (Am. Compl. ¶ 122), JA-

66 (Am. Compl. ¶ 157). But for over five years beginning in 2007, FBI

agents targeted Plaintiffs because of their religion and repeatedly

pressured Plaintiffs to become informants and spy on their Muslim

communities.

      To achieve this, Defendants subjected Plaintiffs—almost all of

whom have never even been arrested or committed any crime, and none

of whom has ever been suspected of terrorism—to outrageous and

sustained harassment, including by adding them to the No Fly List.

Defendants repeatedly interrogated one Plaintiff, asked what he “could

share” about American Muslims, JA-45 (Am. Compl. ¶ 70), asked if he

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was in the Taliban, JA-46 (Am. Compl. ¶ 75), threatened to deport him,

JA-47 (Am. Compl. ¶ 77), harassed his sister, JA-49 (Am. Compl. ¶ 88),

and refused to let him visit his sick mother abroad, JA-55 (Am. Compl. ¶

116). Defendants asked another Plaintiff about his Muslim friends and

acquaintances, JA-56 (Am. Compl. ¶ 120), demanded he “act like an

extremist,” JA-56 (Am. Compl. ¶ 121), and then cut him off from his wife

and three daughters, JA-57 (Am. Compl. ¶ 125).            A third Plaintiff,

because of the travel restrictions forced on him, lost a job offer and

therefore could not pay his bills, nor visit his wife, father, or extended

family. JA-67 (Am. Compl. ¶ 160). A fourth Plaintiff was harassed by

FBI agents in public, JA-71 (Am. Compl. ¶ 174), and was not allowed to

visit his 93-year-old grandmother, JA-77 (Am. Compl. ¶ 196). Because of

the harassment they suffered from government agents, Plaintiffs have,

among other harms, become reluctant to mention their religious beliefs

to others or attend religious services at their local mosques, JA-70 (Am.

Compl. ¶ 171).

     In short, government officials targeted Plaintiffs precisely because

of their faith, and government officials repeatedly pressured them to

violate their sincerely held religious beliefs.     RFRA was enacted to


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prevent and deter such conduct. Particularly in light of this country’s

deeply rooted commitment to religious liberty and RFRA’s expansive

protection thereof, it should have been “obvious” to government officials

that coercing innocent Muslims to operate as government spies in their

houses of worship and religious communities unlawfully burdened their

exercise of religion. Taylor v. Riojas, 141 S. Ct. 52, 54 (2020) (quoting

Hope v. Pelzer, 536 U.S. 730, 741 (2002)). Even if it had not been obvious,

clearly established law gave those officials fair warning that their

conduct was illegal under RFRA.

     Nonetheless, the District Court dismissed Plaintiffs’ RFRA claim

on qualified immunity grounds. Three aspects of the District Court’s

ruling are especially pernicious for religious minorities and threaten to

eviscerate the broad protection of religious liberty that Congress

specifically enacted with RFRA: (a) the District Court defined the

relevant rights too narrowly; (b) the District Court declined to decide

whether Defendants actually violated Plaintiffs’ rights here; and (c) the

District Court decided the qualified immunity question at the pleadings

stage.




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     With each error, the District Court expanded the scope of qualified

immunity despite the many criticisms that qualified immunity has faced

in recent years from jurists and scholars across the ideological spectrum,2

and despite recent refusals by appellate courts across the country,

including the Supreme Court, to let the defense expand any further. See,

e.g., id. (rejecting the need to find clearly established right in existing

case law where “any reasonable officer” would realize the illegality of

their conduct); Sanchez v. Oliver, 995 F.3d 461, 472 (5th Cir. 2021)

(refusing to extend qualified immunity to employee of private, for-profit

organization with which county contracted); Davis v. Buchanan Cty., 11

F.4th 604, 622 (8th Cir. 2021) (same); Tanner v. McMurray, 989 F.3d 860,

870 (10th Cir. 2021) (same). Indeed, the Supreme Court, in this very

litigation, warned courts not to develop a “policy-based presumption

against damages against individual officials.” Tanzin, 141 S. Ct. at 493.

Thus, even if qualified immunity is available as a defense to RFRA

claims, “with so many voices critiquing current law as insufficiently



2 See, e.g., Baxter v. Bracey, 140 S. Ct. 1862, 1865 (2020) (Thomas, J.,

dissenting from the denial of certiorari); Kisela v. Hughes, 138 S. Ct.
1148, 1162 (2018) (Sotomayor, J., dissenting); William Baude, Is
Qualified Immunity Unlawful?, 106 Cal. L. Rev. 45 (2018).
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protective of constitutional rights, the last thing [a court] should be doing

is recognizing an immunity defense when existing law rejects it.” McCoy

v. Alamu, 950 F.3d 226, 237 (5th Cir. 2020) (Costa, J., dissenting in part),

cert. granted, judgment vacated, 141 S. Ct. 1364 (2021).

     A.    The District Court Defined Plaintiffs’ Rights Too
           Narrowly

     Qualified immunity does not apply when an official violates a

“clearly established” right. Sabir v. Williams, 52 F.4th 51, 58 (2d Cir.

2022). Determining whether a right was “clearly established” requires

defining the right at issue. Largely in the particular context of Fourth

Amendment claims under 42 U.S.C. § 1983, the Supreme Court has held

that a right must be defined with specificity because “it is sometimes

difficult for an officer to determine how the relevant legal doctrine . . .

will apply to the factual situation the officer confronts.” Mullenix v.

Luna, 577 U.S. 7, 12 (2015); see also Pearson v. Callahan, 555 U.S. 223,

237 (2009) (observing that Fourth Amendment inquiries may be “highly

idiosyncratic and heavily dependent on the facts”) (internal quotation

marks and citation omitted).

     But as this Court has recently held, claims under RFRA do not

require the same “higher degree of specificity” that has been required for

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Fourth Amendment claims. Sabir, 52 F.4th at 65. Unlike the Fourth

Amendment’s “abstract” prohibition of “unreasonable searches and

seizures,” RFRA imposes a clear and demanding standard for officials,

permitting a substantial burden on a person’s exercise of religion only if

the burden furthers a “compelling governmental interest.” Id. at 65

(quoting 42 U.S.C. § 2000bb-1). Under this test, it is “not difficult for an

official to know” they are violating RFRA, and there is less need to specify

the RFRA right for the purposes of qualified immunity. Id. (cleaned up).

Moreover, unlike typical Fourth Amendment claims, which involve police

officers acting in exigent circumstances and making split-second

decisions, RFRA claims—such as those alleged in this case—often

challenge pre-meditated and carefully planned government conduct that

goes on for months on end, giving officials plenty of time and opportunity

to consider its legality.

      Narrowly defining rights under RFRA, as the District Court did

here, is particularly prejudicial to religious minorities—the very groups

that RFRA is intended to protect. The narrower the right is defined, the

harder it will be to find analogous precedent and thus the harder it will

be to demonstrate that the right is clearly established.           Examples,


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unfortunately, abound of courts defining RFRA rights out of existence for

religious minorities by incorporating gratuitous detail about specific

religious practices into the definitions of those rights. For instance, in

Gonzalez v. Litscher, 230 F. Supp. 2d 950 (W.D. Wis. 2002), the court

defined the free exercise right at issue as the right for “Native American

inmates held in high-security status . . . to possess a medicine bag,

ceremonial drums, feathers or a smoking pipe.”                Id. at 961-62.

Unsurprisingly, the court found “no precedent establishing” that specific

right, and it thus applied qualified immunity to shield the defendants

from liability. Id. at 961. Similarly, in Romero v. Lappin, 2011 WL

3422849 (E.D. Ky. Aug. 4, 2011), prison officials confiscated the religious

items of a Native American inmate, including a string attached to an

eagle feather. See id. at *5. The court defined the Native American’s

right as “his specific right not to have the green string removed from his

feather”—a right so remarkably narrow that of course no previous case

could clearly establish it. Id. at *4.

      Other courts have likewise defined rights under RFRA (or

analogous rights under RFRA’s sister statute, the Religious Land Use

and Institutionalized Persons Act, “RLUIPA”) so narrowly as to make


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them meaningless. See, e.g., Buckner v. Casaleggio, 2009 WL 511142, at

*3 (D. Nev. Feb. 27, 2009) (right of Orthodox Sunnah Muslim to worship

separately from the Nation of Islam congregation not clearly

established); Godbey v. Wilson, 2014 WL 794274, at *9 (E.D. Va. Feb. 26,

2014) (Asatru inmate’s rights to use alcoholic mead or wear hlath not

clearly established); Ghashiyah v. Wis. Dep’t of Corrections, 2006 WL

2845701, at *14 (E.D. Wis. Sept. 29, 2006) (right to food prepared with

special halal kitchenware not clearly established), aff’d, 278 Fed. App’x

654 (7th Cir. 2008); Njos v. Carney, 2017 WL 3224816, at *10 (M.D. Pa.

Jun. 21, 2017) (right to have theologically mandated quantities of certain

foods not clearly established), report & recommendation adopted, 2017

WL 3217690 (M.D. Pa. July 28, 2017).

     Here, the District Court settled on the relevant right as the right to

not “be pressured by law enforcement to inform on members of their

religious communities through the coercive or retaliatory use of the No

Fly List.” JA-150 (Dist. Ct. Op. at 16). The District Court therefore

incorporated a specific government policy, the No Fly List—which is a

subset of the Terrorist Screening Database, maintained by the Terrorist

Screening Center and jointly administered by various agencies including


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the Departments of Homeland Security and of State, see Ibrahim v. U.S.

Dep’t of Homeland Sec., 912 F.3d 1147, 1156-57 (9th Cir. 2019)—into the

Court’s definition of the right. That level of specificity was as artificial

as a right defined in terms of a particular practice of a religious minority.

And while the RFRA violation here should have still been clear to officials

even when narrowly defining the right at issue, allowing courts to define

rights under RFRA so narrowly threatens to make the statute an empty

promise.

     An alternative definition of the right—which would not have

undermined RFRA—was available. Prior to Defendants’ harassment of

Plaintiffs, this Circuit had interpreted RFRA’s “substantial burden”

requirement as satisfied “where the state ‘puts substantial pressure on

an adherent to modify his behavior and to violate his beliefs.’” Jolly v.

Coughlin, 76 F.3d 468, 477 (2d Cir. 1996) (quoting Thomas v. Review Bd.

Of the Indiana Employment Sec. Div., 450 U.S. 707, 718 (1981))

(alteration removed). As this Circuit observed, such a right has deep

roots in Free Exercise jurisprudence, which recognized that there are

many ways a government can burden religion without outright

prohibiting it. See id. (citing Sherbert v. Verner, 374 U.S. 398, 404 (1963)


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and Thomas, 450 U.S. at 718).          Jolly clearly established the right

articulated by Plaintiffs in this litigation: “to be free from government

pressure that forces an individual to violate sincerely held religious

beliefs.” JA-149 (Dist. Ct. Op. at 15). The District Court should have

accepted that formula.3

     B.    The District Court Should Have Considered
           Whether Plaintiffs’ Rights Were Violated Before
           Considering Whether Those Rights Were Clearly
           Established

     The qualified immunity analysis has two prongs: (i) whether the

defendant violated a statutory or constitutional right and (ii) whether

that right was “clearly established” at the time of the conduct at issue.

Sabir, 52 F.4th at 58. In Pearson, the Supreme Court held that courts

“should be permitted to exercise their sound discretion in deciding which

of the two prongs of the qualified immunity analysis should be addressed




3 Instead, the District Court limited Jolly to its particular facts (confining

the plaintiff to a “medical keeplock” for three and a half years for
refusing, on religious grounds, to take a tuberculosis test) even though
Jolly observed that the confinement itself was not necessary to establish
a RFRA violation. JA-155 (Dist. Ct. Op. at 21); see also Jolly, 76 F.3d at
477. Rather, “[t]he choice … presented by the state—either submitting
to the test or adhering to one’s belief and enduring medical keeplock—
itself constitutes a substantial burden.” Id. (emphasis added).
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first in light of the circumstances in the particular case at hand.” 555

U.S. at 236.

     This Court explained in Sabir that, even though courts have

discretion to ask whether a right was clearly established before

determining if the right was violated, they should generally avoid doing

so. The risk, the Court explained, is of “a ‘repetitive cycle’ in which a

court repeatedly declines to address the merits because immunity exists,

and the official continues to engage in the challenged practice because he

will remain immune until the right is clearly established.” Sabir, 52

F.4th at 58 n.3 (quoting Camreta v. Greene, 563 U.S. 692, 706 n.5 (2011)).

     This concern is particularly acute for religious minorities.       As

discussed above, those minorities will often have few precedents to draw

on to clearly establish the illegality of a practice under RFRA. So long as

courts continue to consider only whether a right was “clearly

established,” without first considering whether the right was violated to

begin with, religious minorities in future cases will be unable to point to

precedents to demonstrate that the right at issue is clearly established.

     By declining even to consider the merits of Plaintiffs’ RFRA claims,

the District Court therefore deprived Plaintiffs of an opportunity to


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obtain a precedent prohibiting especially egregious government

misconduct. The court skipped ahead, instead asking whether a RFRA

right was clearly established. The District Court therefore exacerbated

religious minorities’ already constrained ability to develop useful

precedents to protect their rights in the future.

     C.    The District Court Should Not Have Decided
           Qualified Immunity at the Pleadings Stage

     Under prevailing circuit law, an invocation of qualified immunity

at the pleadings stage should be presumed to fail. See, e.g., Chamberlain

v. City of White Plains, 960 F.3d 100, 110 (2d Cir. 2020) (“As a general

rule, the defense of qualified immunity cannot support the grant of a Rule

12(b)(6) motion.”) (cleaned up); McKenna v. Wright, 386 F.3d 432, 436 (2d

Cir. 2004) (“Rule 12(b)(6) is a mismatch for immunity and almost always

a bad ground of dismissal.” (quoting Jacobs v. City of Chicago, 215 F.3d

758, 775 (7th Cir. 2000) (Easterbrook, J., concurring in part))). That is

because “qualified immunity is an affirmative defense that a defendant

has the burden of pleading in his answer.” Castro v. United States, 34

F.3d 106, 111 (2d Cir. 1994). “Otherwise, plaintiffs alleging a violation

of their constitutional rights would face a heightened pleading standard

under which they must plead not only facts sufficient to make out their
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claim but also additional facts to defeat an assertion of qualified

immunity.” Chamberlain, 960 F.3d at 111. Qualified immunity must

therefore be rejected at the pleadings stage unless “it appears beyond

doubt that the plaintiff can prove no set of facts in support of his claim

that would entitle him to relief.” McKenna, 386 F.3d at 436.

     Despite “this high bar” to invoking a qualified immunity defense on

a motion to dismiss, Chamberlain, 960 F.3d at 111, the District Court

nonetheless granted precisely such a motion here. And it did so despite

Plaintiffs’ detailed allegations, described above, of how officials

egregiously burdened their religious freedom. See supra at 11-12. The

result is both an unwarranted expansion of qualified immunity doctrine

and a heightened pleading standard for plaintiffs. This is particularly

problematic when dealing with rights under RFRA—a statute that was

enacted “to provide very broad protection for religious liberty.” Hobby

Lobby, 573 U.S. at 706.

     The District Court’s decision illustrates the perils of adjudicating

qualified immunity at the pleadings stage.          Looking solely at the

Complaint, the District Court determined that “even to the extent that

the Complaint plausibly alleges that Defendants improperly burdened


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religious exercise, it does not allege that they did so with no justification

whatsoever.” JA-159 (Dist. Ct. Op. at 25).         But RFRA requires the

government to demonstrate a compelling interest. Sabir, 52 F.4th at 65.

And the government must also show that it “lacks other means of

achieving its desired goal without imposing a substantial burden on the

exercise of religion by the objecting parties in these cases.” Hobby Lobby,

573 U.S. at 728. Simply invoking “effort[s] to gather intelligence related

to national security in the aftermath of the 9/11 terrorist attacks,” as the

District Court did here, is not enough. JA-159 (Dist. Ct. Op. at 25).

     Allowing such a broad and untailored invocation of national

security to establish qualified immunity at the pleadings stage is

especially troublesome in a RFRA case. Religious minorities—whom the

statute is designed to protect—have long been targeted by governments

(and have had their rights burdened) in the name of national security.

Throughout the 20th century, the FBI targeted several different minority

religious groups, ranging from the congregations of the Church of God in

Christ during World War I, to Jews during the Cold War, to pacifist




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Catholic priests during the Vietnam War.4 And in the long wake of the

September 11, 2001 terrorist attacks, American Muslims, and those

perceived to be Muslims, experienced a dramatic spike in unwarranted

government surveillance, of which this case is just one example.5

      Just as other faith traditions have been special targets of

discrimination in decades past, each new era brings with it the risk that

some other religious group will be singled out for derision and disfavor.

Amici of all faiths thus understand that if government officials can point

to vague references to national security concerns to assert qualified

immunity and short-circuit a RFRA claim, then little stands in the way

of continued surveillance and harassment of disfavored religious groups

in the future.




4 See Sylvester A. Johnson and Steven Weitzman, The FBI and Religion

2, 9 (2017).
5 Sahar Khan & Vignesh Ramachandran,        Post-9/11 Surveillance Has
Left a Generation of Muslim Americans in a Shadow of Distrust and Fear,
PBS          News          Hour        (Sept.         16,        2021),
https://www.pbs.org/newshour/nation/post-9-11-surveillance-has-left-a-
generation-of-muslim-americans-in-a-shadow-of-distrust-and-fear.
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                             CONCLUSION

     For these reasons, amici urge the Court to reverse the District

Court’s dismissal of this action and remand for further proceedings.

Date: August 4, 2023

                                   Respectfully submitted,

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                 CERTIFICATE OF COMPLIANCE

     This brief complies with the type-volume limit of Local Rule 29.1

because it contains 4,685 words.       This brief also complies with the

typeface and type-style requirements of Federal Rule of Appellate

Procedure 32(a) because it was prepared using Microsoft Word in

Century Schoolbook 14-point font, a proportionally spaced serif typeface.




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                        CERTIFICATE OF SERVICE

     I hereby certify that on August 4, 2023, I electronically filed the

foregoing Brief of Amici Curiae 26 Religious Organizations using the

CM/ECF system, which will send notification of such filing to all parties

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                              APPENDIX A

1.   Central Conference of American Rabbis

      The Central Conference of American Rabbis, whose membership
includes more than 2,000 Reform rabbis, comes to this issue out of a
commitment to religious freedom. RFRA affirms our nation’s founding
promise to protect the rights of religious expression from undue state
interference. Americans of all faith must be free to follow the dictates of
their conscience.

2.   Council on American-Islamic Relations (“CAIR”)

      CAIR is a grassroots civil rights and advocacy group. We are
America’s largest Muslim civil liberties organization with our national
headquarters on Capitol Hill in Washington D.C., and regional offices
nationwide. Since CAIR’s establishment in 1994, we have worked to
promote a positive image of Islam and Muslims in America. Through
media relations, government relations, education and advocacy, CAIR
puts forth an Islamic perspective to ensure that Muslim voices are
represented. In offering this perspective, CAIR seeks to empower the
American Muslim community and encourage their participation in
political and social activism. CAIR is committed to protecting the civil
rights of all Americans, regardless of faith, and supporting domestic
policies that promote civil rights, diversity, and freedom of religion.
CAIR’s civil rights department counsels, mediates, and advocates on
behalf of Muslims and persons from other faiths who have experienced
religious discrimination, defamation, or hate crimes.

3.   Council on American-Islamic Relations, New York Chapter
     (“CAIR-NY”)

       CAIR has worked for more than 25 years to defend the
Constitution and Muslim civil rights. The New York chapter is one of
the busiest and most dynamic of CAIR’s thirty-five nationwide
affiliates, defending, representing, and educating nearly one million
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Muslims in the New York area. CAIR-NY fights Islamophobia and
systemic discrimination in all its forms, and protects New Yorkers who
have experienced discrimination, harassment, or hate crimes.

4.   Congregation Beit Simchat Torah (“CBST”)

      CBST is the world’s largest synagogue serving people of all sexual
orientations and gender identities. Building on the ritual, liturgical and
theological heritage of Judaism, CBST serves as a symbol for
marginalized people everywhere seeking to revision traditional religious
communities. An example of religious pluralism in action, CBST offers
a variety of religious experiences to meet the needs of its vibrant,
inclusive community. Because CBST works with people of all faiths to
promote equality, it is committed to ensuring that all individuals have a
right to freely practice their faiths without harassment.

5.   Congregation Shaarei Shamayim

      Congregation Shaarei Shamayim is a growing, open, pluralistic
congregation of 190 households located in Madison, Wisconsin. We
believe that Judaism is a means for bringing justice, holiness, and joy to
our world. We are building Jewish community rooted in creativity and
authenticity, and we are reimagining the possibilities for Jewish life,
identity, and community. Working for social justice is one of our core
values. We are inspired by Jewish tradition to fight for a sustainable
world, care for the vulnerable, and create racial and economic justice.
We engage in programs to keep up on current issues, partner with
community organizations to amplify our voices, and get involved in
efforts to make our city, region, and world a better place for everyone.
We believe in religious pluralism, and therefore support the rights of
everyone to worship according to their own beliefs. We have a long
history of supporting prisoners, and reintegrating those released from
prison into society through the participation of our members in Circles
of Support. We have filed amicus briefs before various courts across
this nation in support of the religious freedoms of persecuted minorities.

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6.   El Paso Monthly Meeting of the Religious Society of
     Friends

     The El Paso (Texas) Monthly Meeting of the Religious Society of
Friends is a Quaker religious group. Early members of our
denomination were subject to legal punishment in Britain and New
England, including imprisonment, harsh physical punishments, and
even state sanctioned death. Out of these early experiences, we have
developed an abiding interest in freedom of religion.

7.   Emgage Action

     Emgage Action supports and advocates for just policies that
strengthen our pluralistic democracy and protect human rights at home
and abroad.

8.   Faith in New Jersey

      Faith in New Jersey is a racially diverse, multi-faith, power-
building vehicle for faith leaders, houses of worship, and spiritual
communities. By organizing individuals directly impacted by
incarceration, immigration, an immoral economy, gun violence, and
systemic racism, we work together to advance a social and economic
justice agenda at the local, state, and federal level. Our mission is to
develop grassroots community leaders, analyze the policies that shape
our communities, and mobilize faith voices and faith voters to
effectively act on the prophetic call to build the Beloved Community. As
part of that mission, we support greater legal safeguards for vulnerable
members of our society to ensure they can freely exercise their religious
beliefs.




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9.    Franciscan Friars of the Province of St. Barbara

      The Franciscan Friars of the Province of St. Barbara, part of what
is formally known as the Order of Friars Minor (“OFM”), are members
of a Roman Catholic religious order of men. From a diversity of
backgrounds and cultures, they are dedicated to serving the poor and
promoting justice, peace, care of creation, and reconciliation. They do
this in the joyful and prophetic spirit of St. Francis of Assisi. The
members of the Province of St. Barbara live and work in California,
Arizona, Oregon, and Washington, serving communities whose profiles
cross ethnic, cultural and economic boundaries. Friars also serve in a
number of Native American nations in the Southwest, as well on
mission to Mexico, Russia, and the Holy Land. Friars are strongly
committed to the belief that everyone should be freely allowed to
exercise their religious beliefs without any interference from state and
federal officials.

10.   Interfaith Center of New York (“ICNY”)

      ICNY is a secular non-profit organization with a mission to
“overcome prejudice, violence, and misunderstanding by activating the
power of the city’s grassroots religious and civic leaders and their
communities.” Over the course of 25 years, ICNY has built the most
religiously-diverse and civically-engaged network of grassroots and
immigrant religious leaders across the five boroughs of Manhattan,
Queens, Brooklyn, Staten Island and The Bronx. These include
Muslim, Sikh, Hindu, Buddhist, Christian, Jewish, Afro Caribbean, and
Native American New Yorkers who have either attended one or more of
our social justice retreats, participated in our religious diversity
education programs for social workers, teachers, lawyers, and NYPD
officers, or joined multi-faith advocacy work on immigration and
religious freedom. Through our advocacy work, ICNY helps New
Yorkers and others build relationships of mutual respect and
understanding across faith lines. We give people the tools they need to
participate in the civic life of our multicultural democracy. Our

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organization stands with efforts to ensure that federal laws protecting
religious freedom, such as RFRA, are properly interpreted to allow for
the maximum range of legal remedies.

11.   Islamic Society of Central Jersey

      The Islamic Society of Central Jersey (“ISCJ”) is an organization
of Muslim Americans that was formed in 1975 that provides religious,
educational and social services to its members, as well as to the
community at large. The ISCJ established a place of worship in South
Brunswick, NJ in the early 1980s. The ISCJ aspires to be the anchor of
a model community of practicing Muslims of diverse backgrounds,
democratically governed, efficiently served, relating to one another with
inclusiveness and tolerance, and interacting with neighbors and the
community at large in an Islamic exemplary fashion.

12.   Men of Reform Judaism

      The Men of Reform Judaism comes to this issue out of a
commitment to religious freedom. RFRA affirms our nation’s founding
promise to protect the rights of religious expression from undue state
interference. Americans of all faith must be free to follow the dictates of
their conscience.

13.   Muslim Bar Association of New York (“MuBANY”)

      MuBANY is one of the nation’s largest and most active
professional associations for Muslim lawyers. MuBANY provides a
range of services for the legal and larger Muslim community. One of
MuBANY’s missions is to improve the position of the Muslim
community in American society. MuBANY seeks to support the Muslim
community by educating the community, advancing and protecting the
rights of Muslims in America, and creating an environment that helps
guarantee the full, fair and equal representation of Muslims in
American society.

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14.   Muslim Public Affairs Council (“MPAC”)

      The MPAC is a national public affairs nonprofit organization
working to promote and strengthen American pluralism by increasing
understanding and improving policies that impact American Muslims.
Over the past 30 years, MPAC has built a reputation for being a
dynamic and trusted American Muslim voice for policymakers, opinion
shapers, and community organizers across the country. We design and
execute innovative and effective legislative, strategic messaging, and
issue advocacy campaigns. MPAC leverages relationships with
legislators, government agencies, executive departments, and thought
leaders to improve policies on national security, civil liberties,
immigration, public safety and religious freedom for all Americans.
Over the past 15 years, we have participated as amicus curiae in cases
concerning civil liberties (Boumediene v. Bush & al-Odah v. U.S.);
immigration (Department of Homeland Security v. Regents of the
University of California, Donald Trump v. IRAP, and Arizona v. U.S.);
and religious liberties (Tanzin v. Tanvir, Masterpiece Cakeshop v.
Colorado Civil Rights Commission, and Holt v. Arkansas Dept. of
Correction).

15.   Muslim Urban Professionals (“Muppies”)

      Muppies is a nonprofit, charitable organization dedicated to
empowering and advancing Muslim business professionals to be leaders
in their careers and communities. Muppies consists of over 3,300
members in 33 countries and 11 active local city committees across the
globe. Our desire is to live in a society that understands, respects, and
includes Muslims in mainstream culture by aiding in efforts that
improve the representation and inclusion of Muslims. Our mission is to
create a global community of diverse individuals who will support,
challenge, and inspire one another by providing a platform for
networking, mentorship, and career development. We have advocated
for the religious freedoms of prisoners, incarcerated persons,

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immigrants, DACA recipients, the LGBTQI community, and other
historically disempowered groups by joining amicus briefs filed in
various courts across the country.

16.   National Association of Muslim Lawyers (“NAML”)

      NAML is an association of Muslim lawyers, Muslim law students,
and legal professionals in the United States. NAML provides
networking and mentorship services, organizes educational programs
on current legal topics of interest, supports regional Muslim bar
associations, and serves the law-related needs of the general public
through community service efforts. NAML has an interest in issues
that affect the Muslim American community, and it seeks to ensure
that the law fully and adequately protects the rights of religious
minorities.

17.   National Council of Jewish Women (“NCJW”)

      NCJW is a grassroots organization of 210,000 advocates who turn
progressive ideals into action. Inspired by Jewish values, NCJW strives
for social justice by improving the quality of life for women, children,
and families and by safeguarding individual rights and freedoms.
NCJW’s Resolutions state that: “Religious liberty and the separation of
religion and state are constitutional principles that must be protected
and preserved in order to maintain our democratic society.” Consistent
with its Resolutions and its longstanding commitment to religious
liberty, NCJW joins this brief.

18.   NETWORK Lobby for Catholic Social Justice

     NETWORK Lobby for Catholic Social Justice was founded by
Catholic Sisters in 1972 and has over 100,000 members and supporters
across the country. It is an inclusive, national, Catholic advocacy
organization open to all who share our values, working to achieve
equity and justice for everyone. NETWORK Lobby believes that

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welcoming individuals of all backgrounds, including members of
religious minorities, is a basic tenet of our Catholic Social Justice
tradition.

19.   New Jersey Muslim Lawyers Association (“NJMLA”)

      NJMLA is a volunteer association of lawyers, judges, and law
students who work or reside in the New Jersey area. NJMLA works to
advance the goals, needs, and interests of Muslim attorneys in New
Jersey through networking, mentorship, and education. NJMLA also
works to address issues affecting not only the New Jersey but also the
national Muslim community. This includes ensuring that federal laws
protecting the rights of Muslim Americans, such as RFRA, are properly
interpreted to allow for the maximum range of remedies.

20.   New York Disaster Interfaith Services (“NYDIS”)

      NYDIS is a faith-based federation of service providers and
charitable organizations who provide disaster readiness, response, and
recovery services to New York City. We work with all houses of
worship, religious schools, and faith-based social services agencies in
New York. Our mission is to connect and provide resources for faith
communities serving in disaster to create an urban environment of
social justice for all. NYDIS supports the rights of religious minorities
and regularly partners with minority religious organizations.
Consistent with this support, we joined an earlier amicus brief in
Tanzin v. Tanvir, asking the U.S. Supreme Court to recognize money
damages in RFRA claims against federal officials operating in their
individual capacities.

21.   Society for the Advancement of Judaism

     The Society for the Advancement of Judaism is a synagogue in
New York City. Founded by Rabbi Mordecai Kaplan in 1922, the
Society stands for all who are oppressed and those seeking freedom and

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justice, whether or not they are Jewish, of another faith or of no
faith. The synagogue recognizes our shared humanity and the basic
equality, dignity and uniqueness of each soul, and actively works to
prevent the destruction of human life. Consistent with these principles,
in 2020 we joined an amicus brief in this litigation urging the U.S.
Supreme Court to recognize money damages for RFRA claims against
federal officials in their individual capacity.

22.   T’ruah: The Rabbinic Call for Human Rights

      T’ruah: The Rabbinic Call for Human Rights brings the Torah’s
ideals of human dignity, equality, and justice to life by empowering our
network of 2,300 rabbis and cantors to be moral voices and to lead
Jewish communities in advancing democracy and human rights for all
people in the United States, Canada, Israel, and the occupied
Palestinian territories. We believe that limiting the scope of qualified
immunity is essential to ensuring that religious minorities are treated
with respect and dignity by the government

23.   Union for Reform Judaism

      The Union for Reform Judaism, whose nearly 850 congregations
across North America include 1.8 million Reform Jews, comes to this
issue out of a commitment to religious freedom. RFRA affirms our
nation’s founding promise to protect the rights of religious expression
from undue state interference. Americans of all faith must be free to
follow the dictates of their conscience.

24.   Union Theological Seminary (“UTS”)

     UTS, founded in 1836 in New York City, is a globally recognized
seminary and graduate school of theology where faith and scholarship
meet to reimagine the work of justice. A beacon for social justice and
progressive change, Union Theological Seminary is led by a diverse
group of theologians and activist leaders. Drawing on both Christian

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traditions and the insights of other faiths, the institution is focused on
educating leaders who can address critical issues like racial equity,
criminal justice reform, income inequality, and protecting the
environment. Union is led by Rev. Dr. Serene Jones, the sixteenth
President and the first woman to head the 187-year-old seminary.
Consistent with the education we provide, UTS believes that religious
freedom and civil rights are complementary values and legal principles
necessary to sustain and advance equality for all.

25.   Unitarian Universalist Service Committee (“UUSC”)

      The UUSC is a non-sectarian human-rights organization powered
by grassroots collaboration. Currently based in Cambridge,
Massachusetts, UUSC began its work in 1939 when Reverend Waitstill
and Martha Sharp took the extraordinary risk of traveling to Europe to
help refugees escape Nazi persecution. We focus our work on
intersecting roots of injustice to defend rights at risk due to
criminalization and systemic oppression of people based on their
identity. We collaborate closely with grassroots organizations and
movements that are advancing our shared human rights goals on the
ground. One of UUSC’s primary human rights objectives is to end
criminalization on the basis of identity. We fund organizations around
the United States working to end federal immigration detention, and to
document and eliminate discriminatory abuse and maltreatment in
federal immigration custody. UUSC has also advocated for the
humanitarian release of people held in federal prisons during the
COVID-19 pandemic, and for the elimination of private prison contracts
in the federal prison and immigration detention systems. We have also
lobbied at the national level for a reduction in funding for federal
detention facilities. UUSC strongly believes that federal officials who
violate religious minorities’ rights must be held accountable.




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26.   Women of Reform Judaism

      Women of Reform Judaism, which represents tens of thousands of
women in hundreds of Women of Reform Judaism-affiliated women’s
groups and many individual members, comes to this issue out of a
commitment to religious freedom. RFRA affirms our nation’s founding
promise to protect the rights of religious expression from undue state
interference. Americans of all faith must be free to follow the dictates of
their conscience.




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